                                      Case 24-10608              Doc 1        Filed 09/27/24           Page 1 of 42


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SWD Rents, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3396 Valley Crossing Drive
                                  Greensboro, NC 27410
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Guilford                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  1544 Old Greensboro Road Kernersville, NC
                                                                                                  27284
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 24-10608               Doc 1         Filed 09/27/24              Page 2 of 42
Debtor    SWD Rents, Inc.                                                                             Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                      Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                            Case 24-10608                 Doc 1        Filed 09/27/24            Page 3 of 42
Debtor    SWD Rents, Inc.                                                                                 Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                     Case 24-10608                Doc 1        Filed 09/27/24             Page 4 of 42
Debtor    SWD Rents, Inc.                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 27, 2024
                                                  MM / DD / YYYY


                             X /s/ Stephen Dami                                                           Stephen Dami
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Samantha K. Brumbaugh                                                   Date September 27, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Samantha K. Brumbaugh 32379
                                 Printed name

                                 Ivey, McClellan, Siegmund, Brumbaugh & McDonough, LLP
                                 Firm name

                                 305 Blandwood Avenue
                                 Greensboro, NC 27401
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address      skb@iveymcclellan.com

                                 32379 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                                   Case 24-10608               Doc 1        Filed 09/27/24           Page 5 of 42




Fill in this information to identify the case:

Debtor name         SWD Rents, Inc.

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 27, 2024              X /s/ Stephen Dami
                                                           Signature of individual signing on behalf of debtor

                                                            Stephen Dami
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                                Case 24-10608                            Doc 1               Filed 09/27/24                        Page 6 of 42

Fill in this information to identify the case:

Debtor name           SWD Rents, Inc.

United States Bankruptcy Court for the:                      MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           339,556.60

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           339,556.60


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           816,769.11


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           146,480.55


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $             963,249.66




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
                                    Case 24-10608             Doc 1        Filed 09/27/24            Page 7 of 42

Fill in this information to identify the case:

Debtor name         SWD Rents, Inc.

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest
2.        Cash on hand                                                                                                                             $13,000.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Pinnacle                                          checking account                      2698                                     $3,906.60



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $16,906.60
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit

8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment
                   Prepayment to Paychex for W2 prep for 2024
          8.1.     value is approximate                                                                                                               $200.00




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
                                   Case 24-10608              Doc 1     Filed 09/27/24          Page 8 of 42

Debtor       SWD Rents, Inc.                                                           Case number (If known)
             Name


9.        Total of Part 2.                                                                                                       $200.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                         Net book value of        Valuation method used   Current value of
          Include year, make, model, and identification numbers       debtor's interest        for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                               (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   2020 Ford Transit T-350 cargo van
                  VIN: 1FTBW3X86LKA76266
                  new motor                                                         $0.00      Comparable sale                   $17,250.00


          47.2.   2021 Mercedes cargo sprinter van
                  VIN: W1W40CHY6MT053954                                            $0.00      Comparable sale                   $40,000.00


          47.3.   2021 Mercedes sprinter cargo van
                  VIN: W1Y40CHY3MT062070                                            $0.00      Comparable sale                   $40,000.00


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                   page 2
                               Case 24-10608          Doc 1     Filed 09/27/24       Page 9 of 42

Debtor      SWD Rents, Inc.                                                 Case number (If known)
            Name



         47.4.   2021 Mercedes cargo sprinter van
                 VIN: W1W40CHY7MT051260                                    $0.00    Comparable sale   $40,000.00


         47.5.   2019 Ram Promaster
                 VIN: ZFBHRFAB7K6N61052                                    $0.00    Comparable sale   $11,000.00


         47.6.   2019 Ram Promaster 2500
                 VIN: 3C6TRVDG6KE557715
                 new motor                                                 $0.00    Comparable sale   $10,000.00


         47.7.   2020 Ram Promaster 3500
                 VIN: 3C6URVHG6LE138151
                 new transmission; starts, but blown
                 motor; located in Kernersville at repair
                 shop                                                      $0.00    Comparable sale    $3,000.00


         47.8.   2020 Ford Transit T-350 cargo van
                 VIN: 1FTBW3X86LKA76268                                    $0.00    Comparable sale   $17,250.00


         47.9.   2020 Ford Transit T-350 cargo van
                 VIN: 1FTBW3X83LKA65972                                    $0.00    Comparable sale   $15,000.00


         47.10 2015 GMC 3500
         .     VIN: 1GD072CF4F1166771
                 new motor                                                 $0.00    Comparable sale   $10,000.00


         47.11 2016 Ford Transit large box van
         .     VIN: 1FDRS8PM3GKA77190
                 new motor                                                 $0.00    Comparable sale   $30,000.00


         47.12 2016 Ford Transit high roof
         .     VIN: 1FTBW2XM3GKA21869                                      $0.00    Comparable sale    $5,000.00


         47.13 2004 Freightliner step
         .     VIN: 4UZAANCP24CL85343                                      $0.00    Comparable sale    $5,000.00


         47.14 2010 Mercedes sprinter van
         .     VIN: WD3PE8CCXA5423431                                      $0.00    Comparable sale    $1,000.00


         47.15 2014 Ram Promaster 2500 high roof
         .     VIN: 3C6URVJG7EE117838                                      $0.00    Comparable sale    $7,000.00


         47.16 2019 Promaster City van
         .     VIN: ZFBHRAB7K6N61052                                       $0.00    Comparable sale   $12,000.00


         47.17 2021 Mercedes sprinter van
         .     VIN: W1W40CHY2MT051344                                      $0.00    Comparable sale   $40,000.00




Official Form 206A/B                         Schedule A/B Assets - Real and Personal Property             page 3
                                   Case 24-10608                 Doc 1    Filed 09/27/24            Page 10 of 42

Debtor        SWD Rents, Inc.                                                              Case number (If known)
              Name

48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           12 new tires with rims                                                       $0.00                                  $1,500.00


           3 Ton floor jack                                                             $0.00                                    $150.00


           10 in van video recorders                                                    $0.00                                  $1,500.00


           misc. tools                                                                  $0.00                                    $800.00



51.        Total of Part 8.                                                                                              $307,450.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                    Current value of
                                                                                                                    debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                page 4
                                 Case 24-10608                 Doc 1   Filed 09/27/24       Page 11 of 42

Debtor      SWD Rents, Inc.                                                         Case number (If known)
            Name

73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership
         Debtor is due a refund of approximately $15,000 from
         First Financial Asset Mnmt, Inc. for money withdrawn
         from it's account without permission/authority.                                                      $15,000.00




78.      Total of Part 11.                                                                                   $15,000.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                page 5
                                           Case 24-10608                      Doc 1            Filed 09/27/24                   Page 12 of 42

Debtor          SWD Rents, Inc.                                                                                     Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $16,906.60

81. Deposits and prepayments. Copy line 9, Part 2.                                                                      $200.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $307,450.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                  $15,000.00

91. Total. Add lines 80 through 90 for each column                                                            $339,556.60           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $339,556.60




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 6
                             Case 24-10608           Doc 1      Filed 09/27/24         Page 13 of 42
91C (4/21)
                                           UNITED STATES BANKRUPTCY COURT
                                          MIDDLE DISTRICT OF NORTH CAROLINA

In the Matter of:                                                )
SWD Rents, Inc.                                                  )       Case No.
                                                                 )
                                                                 )       DEBTOR'S CLAIM FOR PROPERTY EXEMPTIONS
                                                                 )
                                         Debtor.                 )

NOTE: You must complete this form in addition to Official Form 106C (Schedule ‘C’) to claim property as exempt if: (1) your
domicile was located in North Carolina for the 730 days immediately preceding the date of the filing of the petition, or (2) your
domicile was not located in a single state for those 730 days, but your domicile was located in North Carolina for 180 days
immediately preceding the 730-day period or for a longer portion of such 180-day period than in any other place. For more
information, please refer to Local Rule 4003-1 of the United States Bankruptcy Court for the Middle District of North Carolina.
Schedule ‘C’ may be found at https://www.uscourts.gov/forms/bankruptcy-forms.


I, Stephen Dami , the undersigned Debtor, hereby claim the following property as exempt pursuant to 11 U.S.C. § 522(b)(3)(A),
(B), and (C), the Laws of the State of North Carolina, and non-bankruptcy federal law.

1.       REAL OR PERSONAL PROPERTY USED BY DEBTOR OR DEBTOR'S DEPENDENT AS RESIDENCE OR
         BURIAL PLOT. (NCGS 1C-1601(a)(1)).
         Select appropriate exemption amount below:
                  Total net value not to exceed $35,000.
                  Total net value not to exceed $60,000. (Debtor is unmarried, 65 years of age or older, property was previously
                  owned by Debtor as tenant by the entireties or joint tenant with rights of survivorship, and former co-owner is
                  deceased.)

Description of                                 Market      Mtg. Holder or Lien                       Amt. Mtg.                    Net
Property & Address                              Value      Holder(s)                                   or Lien                  Value
-NONE-

                           (a) Total Net Value                                                   $                       0.00
                           Total Net Exemption                                                   $                       0.00
                           (b) Unused portion of exemption, not to exceed $5,000.                $                   5,000.00
                           (This amount, if any, may be carried forward and used to claim
                           an exemption in any property owned by the Debtor. (NCGS
                           1C-1601(a)(2)).

2.       TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522(b)(3)(B) and
         the laws of the State of North Carolina pertaining to property held as tenants by the entirety.

Description of                                 Market      Mtg. Holder or Lien                       Amt. Mtg.                    Net
Property & Address                              Value      Holder(s)                                   or Lien                  Value
-NONE-

3.       MOTOR VEHICLE. (NCGS 1C-1601(a)(3). Only one vehicle allowed under this paragraph with net value claimed as
         exempt not to exceed $3,500.)

Year, Make,                                    Market                                                                             Net
Model of Auto                                   Value      Lien Holder(s)                            Amt. Lien                  Value
-NONE-

(a) Statutory allowance                                                   $                  3,500
(b) Amount from 1 (b) above to be used in this paragraph.
    (A part or all of 1 (b) may be used as needed.)                       $

                                                   Total Net Exemption    $                   0.00

4.       TOOLS OF TRADE, IMPLEMENTS, OR PROFESSIONAL BOOKS. (NCGS 1C-1601(a)(5). Used by Debtor or
                            Case 24-10608           Doc 1      Filed 09/27/24       Page 14 of 42
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        Debtor's dependent. Total net value of all items claimed as exempt not to exceed $2,000.)

                                              Market                                                                           Net
Description                                    Value     Lien Holder(s)                             Amt. Lien                Value
-NONE-

(a) Statutory allowance                                                 $                 2,000
(b) Amount from 1 (b) above to be used in this paragraph.
    (A part or all of 1 (b) may be used as needed.)                     $

                                                 Total Net Exemption    $                  0.00

5.       PERSONAL PROPERTY USED FOR HOUSEHOLD OR PERSONAL PURPOSES NEEDED BY DEBTOR OR
         DEBTOR'S DEPENDENTS. (NCGS 1C-1601(a)(4). Debtor's aggregate interest, not to exceed $5,000 in value for the
         Debtor plus $1,000 for each dependent of the Debtor, not to exceed $4,000 total for dependents.)

                                              Market                                                                           Net
Description                                    Value     Lien Holder(s)                             Amt. Lien                Value
-NONE-

                                                                                          Total Net Value                     0.00

(a) Statutory allowance for Debtor                                        $               5,000
(b) Statutory allowance for Debtor's dependents: 0 dependents at
$1,000 each (not to exceed $4,000 total for dependents)                                    0.00
(c) Amount from 1(b) above to be used in this paragraph.
    (A part or all of 1 (b) may be used as needed.)

                                                                                     Total Net Exemption                      0.00

6.       LIFE INSURANCE. (NCGS 1C-1601(a)(6) and Article X, Section 5 of North Carolina Constitution.)

        Name of Insurance Company\Policy No.\Name of Insured\Policy Date\Name of Beneficiary
        -NONE-

7.       PROFESSIONALLY PRESCRIBED HEALTH AIDS (FOR DEBTOR OR DEBTOR'S DEPENDENTS).
         (NCGS 1C-1601(a)(7). No limit on value.)

        Description:
        -NONE-

8.       DEBTOR'S RIGHT TO RECEIVE FOLLOWING COMPENSATION: (NCGS 1C-1601(a)(8). No limit on number or
         amount.)

        A. $           -NONE- Compensation for personal injury, including compensation from private disability policies or
                                annuities.
        B. $           -NONE- Compensation for death of person of whom Debtor was dependent for support.

9.       INDIVIDUAL RETIREMENT PLANS AS DEFINED IN THE INTERNAL REVENUE CODE AND ANY PLAN
         TREATED IN THE SAME MANNER AS AN INDIVIDUAL RETIREMENT PLAN UNDER THE INTERNAL
         REVENUE CODE. (NCGS 1C-1601(a)(9). No limit on number or amount.) AND OTHER RETIREMENT FUNDS
         DEFINED IN 11 U.S.C. § 522(b)(3)(c).

        Detailed Description                                                                                    Value
        -NONE-
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10.      COLLEGE SAVINGS PLANS QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE.
         (NCGS 1C-1601(a)(10). Total net value not to exceed $25,000 and may not include any funds placed in a college savings
         plan within the preceding 12 months, except to the extent any of the contributions were made in the ordinary course of
         Debtor’s financial affairs and were consistent with Debtor’s past pattern of contributions. This exemption applies only to the
         extent that the funds are for a child of Debtor and will actually be used for the child’s college or university expenses.)

        Detailed Description                                                                                      Value
        -NONE-

11.      RETIREMENT BENEFITS UNDER A RETIREMENT PLAN OF OTHER STATE AND GOVERNMENTAL
         UNITS OF OTHER STATES, TO THE EXTENT THOSE BENEFITS ARE EXEMPT UNDER THE LAWS OF
         THAT STATE OR GOVERNMENTAL UNIT. (NCGS 1C-1601(a)(11). No limit on amount.)

        Description:
        -NONE-

12.      ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT
         HAVE BEEN RECEIVED OR TO WHICH DEBTOR IS ENTITLED. (NCGS 1C-1601(a)(12). No limit on amount to
         the extent such payments are reasonably necessary for the support of Debtor or a dependent of Debtor.)

        Description:
        -NONE-

13.      ANY OTHER REAL OR PERSONAL PROPERTY WHICH DEBTOR DESIRES TO CLAIM AS EXEMPT THAT
         HAS NOT PREVIOUSLY BEEN CLAIMED ABOVE. (NCGS 1C-1601(a)(2). The amount claimed may not exceed the
         remaining amount available under paragraph 1(b) which has not been used for other exemptions.)

                                                                                                                                  Value
                                     Market                                                                       Net        Claimed as
Description                           Value      Lien Holder(s)                        Amt. Lien                Value           Exempt
-NONE-

(a) Total Net Value of property claimed in paragraph 13.                                         $                        0.00

(b) Total amount available from paragraph 1(b).                                                  $                   5,000.00
(c) Less amounts from paragraph 1(b) which were used in the following paragraphs:
                                     Paragraph 3(b)               $
                                     Paragraph 4(b)               $
                                      Paragraph 5(c)              $
                                                Net Balance Available from paragraph 1(b)        $                   5,000.00
                                                                     Total Net Exemption         $

14.      OTHER EXEMPTIONS CLAIMED UNDER THE LAWS OF THE STATE OF NORTH CAROLINA:

      -NONE-
      TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT                                                               $                    0.00

15.      EXEMPTIONS CLAIMED UNDER NON-BANKRUPTCY FEDERAL LAW:

      -NONE-
      TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT                                                               $                    0.00

16. RECENT PURCHASES

The exemptions provided in NCGS 1C-1601(a)(2), (3), (4), and (5) are inapplicable with respect to tangible personal property
purchased by the Debtor less than 90 days preceding the initiation of judgment collection proceedings or the filing of a petition for
bankruptcy, unless the purchase of the property is directly traceable to the liquidation or conversion of property that may be exempt
and no additional property was transferred into or used to acquire the replacement property.

List tangible personal property purchased by the Debtor less than 90 days preceding the filing of the bankruptcy petition:
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                                 Market                                                    Net
Description                       Value   Lien Holder(s)                     Amt. Lien   Value
-NONE-

DATE September 27, 2024                          /s/ Stephen Dami
                                                 Stephen Dami
                                                 Debtor
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Fill in this information to identify the case:

Debtor name         SWD Rents, Inc.

United States Bankruptcy Court for the:           MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
2.1   Affinity Bank                                Describe debtor's property that is subject to a lien                      $42,000.00                $40,000.00
      Creditor's Name                              2021 Mercedes sprinter van
                                                   VIN: W1W40CHY2MT051344
      400 Galleria Pkwy SE
      Atlanta, GA 30339
      Creditor's mailing address                   Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Ally Financial                               Describe debtor's property that is subject to a lien                        $2,845.23               $11,000.00
      Creditor's Name                              2019 Ram Promaster
                                                   VIN: ZFBHRFAB7K6N61052
      P.O. Box 380902
      Minneapolis, MN 55438
      Creditor's mailing address                   Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      7/2020                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 6
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Debtor      SWD Rents, Inc.                                                                       Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Ally Financial                              Describe debtor's property that is subject to a lien                     $10,126.00   $10,000.00
      Creditor's Name                             2019 Ram Promaster 2500
                                                  VIN: 3C6TRVDG6KE557715
      P.O. Box 380902                             new motor
      Minneapolis, MN 55438
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Ally Financial                              Describe debtor's property that is subject to a lien                     $13,317.91    $3,000.00
      Creditor's Name                             2020 Ram Promaster 3500
                                                  VIN: 3C6URVHG6LE138151
                                                  new transmission; starts, but blown motor;
      P.O. Box 380902                             located in Kernersville at repair shop
      Minneapolis, MN 55438
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Bank of America                             Describe debtor's property that is subject to a lien                     $42,564.78   $40,000.00
      Creditor's Name                             2021 Mercedes cargo sprinter van
                                                  VIN: W1W40CHY7MT051260
      P.O. Box 45224
      Jacksonville, FL 32232
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 2 of 6
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Debtor      SWD Rents, Inc.                                                                       Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   First National Bank                         Describe debtor's property that is subject to a lien                     $42,239.67   $40,000.00
      Creditor's Name                             2021 Mercedes sprinter cargo van
                                                  VIN: W1Y40CHY3MT062070
      P.O. Box 29
      Altavista, VA 24517
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Pinnacle Bank                               Describe debtor's property that is subject to a lien                     $24,245.68   $17,250.00
      Creditor's Name                             2020 Ford Transit T-350 cargo van
                                                  VIN: 1FTBW3X86LKA76266
      150 3rd Ave. S, Ste 900                     new motor
      Nashville, TN 37201
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      05/2023                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 3 of 6
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Debtor      SWD Rents, Inc.                                                                       Case number (if known)
            Name


2.8   Pinnacle Bank                               Describe debtor's property that is subject to a lien                     $21,059.00   $17,250.00
      Creditor's Name                             2020 Ford Transit T-350 cargo van
                                                  VIN: 1FTBW3X86LKA76268
      150 3rd Ave. S, Ste 900
      Nashville, TN 37201
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      5/5/2023                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.9   Pinnacle Bank                               Describe debtor's property that is subject to a lien                     $22,433.00   $15,000.00
      Creditor's Name                             2020 Ford Transit T-350 cargo van
                                                  VIN: 1FTBW3X83LKA65972
      150 3rd Ave. S, Ste 900
      Nashville, TN 37201
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      5/5/2023                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
0     Pinnacle Bank                               Describe debtor's property that is subject to a lien                      $2,922.00   $10,000.00
      Creditor's Name                             2015 GMC 3500
                                                  VIN: 1GD072CF4F1166771
      150 3rd Ave. S, Ste 900                     new motor
      Nashville, TN 37201
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      05/08/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 4 of 6
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Debtor       SWD Rents, Inc.                                                                       Case number (if known)
             Name


       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.1
1      Towne Bank                                  Describe debtor's property that is subject to a lien                      $43,015.84   $40,000.00
       Creditor's Name                             2021 Mercedes cargo sprinter van
                                                   VIN: W1W40CHY6MT053954
       P.O. Box 2818
       Norfolk, VA 23501
       Creditor's mailing address                  Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.1    US Small Business
2      Administration                              Describe debtor's property that is subject to a lien                     $550,000.00   $20,856.60
       Creditor's Name                             blanket lien on assets (no lien on vehicles)
       NC District Office
       6302 Fairview Road, Suite
       300
       Charlotte, NC 28210
       Creditor's mailing address                  Describe the lien
                                                   promissory note, security agreement and
                                                   UCC1
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       6/30/2020                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $816,769.11

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 5 of 6
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Debtor     SWD Rents, Inc.                                                                     Case number (if known)
           Name

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              page 6 of 6
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Fill in this information to identify the case:

Debtor name        SWD Rents, Inc.

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Employment Security Commission                      Check all that apply.
          P.O. Box 26504                                         Contingent
          Raleigh, NC 27611                                      Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              notices only
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Guilford County Tax Dept.                           Check all that apply.
          P.O. Box 3328                                          Contingent
          Greensboro, NC 27402                                   Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              notices only
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 3
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Debtor       SWD Rents, Inc.                                                                            Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          Internal Revenue Service                             Check all that apply.
          P.O. Box 7346                                           Contingent
          Philadelphia, PA 19101                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               notices only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          NC Dept. of Revenue                                  Check all that apply.
          P.O. Box 1168                                           Contingent
          Raleigh, NC 27640                                       Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               notices only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          US Attorney's OFfice                                 Check all that apply.
          MDNC                                                    Contingent
          101 S. Edgeworth Street--4th Floor                      Unliquidated
          Greensboro, NC 27401                                    Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               notices only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $67,548.00
          B&K Express, Inc.                                                      Contingent
          P. O. Box 889                                                          Unliquidated
          Whiteville, NC 28472                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: loan and security agreement (no UCC of record)
          Last 4 digits of account number                                    claim amount is estimated
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 3
                                      Case 24-10608                 Doc 1         Filed 09/27/24                  Page 25 of 42

Debtor       SWD Rents, Inc.                                                                        Case number (if known)
             Name

3.2       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          First Financial Asset Mgmt., Inc.                                    Contingent
          P.O. Box 901
                                                                               Unliquidated
          Fort Mill, SC 29716
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                  Basis for the claim:

                                                                           Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $17,852.89
          JPMCB                                                                Contingent
          P.O. Box 15398                                                       Unliquidated
          Wilmington, DE 19850                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: credit card purchases
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,180.55
          Pinnacle Bank                                                        Contingent
          P.O. Box 332509                                                      Unliquidated
          Murfreesboro, TN 37133                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: credit card purchases
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $49,899.11
          Total Diesel                                                         Contingent
          1202 E. Mountain Street                                              Unliquidated
          Kernersville, NC 27284                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: fuel
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                       146,480.55

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          146,480.55




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 3
                                  Case 24-10608               Doc 1        Filed 09/27/24             Page 26 of 42

Fill in this information to identify the case:

Debtor name       SWD Rents, Inc.

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
                                 Case 24-10608             Doc 1        Filed 09/27/24            Page 27 of 42

Fill in this information to identify the case:

Debtor name      SWD Rents, Inc.

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Stephen and                                                                           Pinnacle Bank                      D   2.7
          Kathryn Dami                                                                                                             E/F
                                                                                                                                   G




   2.2    Stephen and                                                                           Pinnacle Bank                      D   2.8
          Kathryn Dami                                                                                                             E/F
                                                                                                                                   G




   2.3    Stephen and                                                                           Pinnacle Bank                      D   2.9
          Kathryn Dami                                                                                                             E/F
                                                                                                                                   G




   2.4    Stephen Dami                                                                          JPMCB                              D
                                                                                                                                   E/F       3.3
                                                                                                                                   G




   2.5    Stephen Dami                                                                          Pinnacle Bank                      D
                                                                                                                                   E/F       3.4
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 3
                              Case 24-10608           Doc 1       Filed 09/27/24         Page 28 of 42

Debtor    SWD Rents, Inc.                                                         Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     Stephen Dami                                                                 Affinity Bank                      D   2.1
                                                                                                                          E/F
                                                                                                                          G




  2.7     Stephen Dami                                                                 Ally Financial                     D   2.2
                                                                                                                          E/F
                                                                                                                          G




  2.8     Stephen Dami                                                                 Ally Financial                     D   2.3
                                                                                                                          E/F
                                                                                                                          G




  2.9     Stephen Dami                                                                 Ally Financial                     D   2.4
                                                                                                                          E/F
                                                                                                                          G




  2.10    Stephen Dami                                                                 Bank of America                    D   2.5
                                                                                                                          E/F
                                                                                                                          G




  2.11    Stephen Dami                                                                 First National Bank                D   2.6
                                                                                                                          E/F
                                                                                                                          G




  2.12    Stephen Dami                                                                 Pinnacle Bank                      D   2.10
                                                                                                                          E/F
                                                                                                                          G




  2.13    Stephen Dami                                                                 Towne Bank                         D   2.11
                                                                                                                          E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 3
                              Case 24-10608           Doc 1       Filed 09/27/24         Page 29 of 42

Debtor    SWD Rents, Inc.                                                         Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor




Official Form 206H                                              Schedule H: Your Codebtors                                Page 3 of 3
                                  Case 24-10608              Doc 1         Filed 09/27/24             Page 30 of 42




Fill in this information to identify the case:

Debtor name         SWD Rents, Inc.

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $1,004,281.00
      From 1/01/2024 to Filing Date
                                                                                          Other    gross receipts/sales


      For prior year:                                                                     Operating a business                             $1,485,796.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other    gross receipts/sale


      For year before that:                                                               Operating a business                             $2,034,817.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other    gross receipts/sales

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
                                   Case 24-10608               Doc 1        Filed 09/27/24             Page 31 of 42
Debtor       SWD Rents, Inc.                                                                    Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             Triad Fleet Auto Repair                               June 26 --                       $25,445.00                Secured debt
                                                                   September                                                  Unsecured loan repayments
                                                                   26, 2024                                                   Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.2.
             P-fleet                                               June 26 --                       $47,792.00                Secured debt
                                                                   September                                                  Unsecured loan repayments
                                                                   26, 2024
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                 Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                  Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
                                  Case 24-10608                Doc 1         Filed 09/27/24              Page 32 of 42
Debtor        SWD Rents, Inc.                                                                     Case number (if known)



Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                  Dates given                          Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Ivey, McClellan, Siegmund,
               Brumbaugh & M
               305 Blandwood Avenue
               Greensboro, NC 27401                      attorney fee and filing fee                                   09/26/2024                 $5,000.00

               Email or website address
               skb@iveymcclellan.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
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Debtor      SWD Rents, Inc.                                                                      Case number (if known)



             Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
             Address                                   payments received or debts paid in exchange                was made                          value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents             Does debtor
                                                             access to it                                                                  still have it?
                                                             Address

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
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Debtor      SWD Rents, Inc.                                                                      Case number (if known)



20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
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Debtor      SWD Rents, Inc.                                                                     Case number (if known)



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Hal Surratt CPA PC
                    11544 N. Main Street
                    High Point, NC 27263

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Stephen Dami                                                                                President, shareholder                        50%


      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Kathryn Dami                                                                                Vice President, shareholder                   50%




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

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Debtor      SWD Rents, Inc.                                                                    Case number (if known)




30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Kathryn Dami                               $850.00/week (gross amount)                               weekly until
      .                                               $45,900.00 total                                          9/20                wages/salary

             Relationship to debtor



      30.2 Stephen Dami                               $850.00/week (gross amount)                               weekly until
      .                                               $45,900.00 total                                          9/20                wages/salary

             Relationship to debtor



      30.3 Stephen Dami
      .                                               $2,400.00                                                 01/2024             rent for the year

             Relationship to debtor
             President/Shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
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Debtor      SWD Rents, Inc.                                                                     Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 27, 2024

/s/ Stephen Dami                                                Stephen Dami
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                           Middle District of North Carolina
 In re       SWD Rents, Inc.                                                                                  Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     4,662.00
             Prior to the filing of this statement I have received                                        $                     4,662.00
             Balance Due                                                                                  $                        0.00

2.   $      338.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

4.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 27, 2024                                                       /s/ Samantha K. Brumbaugh
     Date                                                                     Samantha K. Brumbaugh 32379
                                                                              Signature of Attorney
                                                                              Ivey, McClellan, Siegmund, Brumbaugh & McDonough,
                                                                              LLP
                                                                              305 Blandwood Avenue
                                                                              Greensboro, NC 27401

                                                                              skb@iveymcclellan.com
                                                                              Name of law firm
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                                               United States Bankruptcy Court
                                                  Middle District of North Carolina
 In re   SWD Rents, Inc.                                                                          Case No.
                                                                     Debtor(s)                    Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     September 27, 2024                             /s/ Stephen Dami
                                                         Stephen Dami/President
                                                         Signer/Title
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          Affinity Bank
           400 Galleria Pkwy SE
          Atlanta, GA 30339


          Ally Financial
          P.O. Box 380902
          Minneapolis, MN 55438


          B&K Express, Inc.
          P. O. Box 889
          Whiteville, NC 28472


          Bank of America
          P.O. Box 45224
          Jacksonville, FL 32232


          Employment Security Commission
          P.O. Box 26504
          Raleigh, NC 27611


          First Financial Asset Mgmt., Inc.
          P.O. Box 901
          Fort Mill, SC 29716


          First National Bank
          P.O. Box 29
          Altavista, VA 24517


          Guilford County Tax Dept.
          P.O. Box 3328
          Greensboro, NC 27402


          Internal Revenue Service
          P.O. Box 7346
          Philadelphia, PA 19101


          JPMCB
          P.O. Box 15398
          Wilmington, DE 19850


          NC Dept. of Revenue
          P.O. Box 1168
          Raleigh, NC 27640
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      Pinnacle Bank
      150 3rd Ave. S, Ste 900
      Nashville, TN 37201


      Pinnacle Bank
      P.O. Box 332509
      Murfreesboro, TN 37133


      Total Diesel
      1202 E. Mountain Street
      Kernersville, NC 27284


      Towne Bank
      P.O. Box 2818
      Norfolk, VA 23501


      US Attorney's OFfice
      MDNC
      101 S. Edgeworth Street--4th Floor
      Greensboro, NC 27401


      US Small Business Administration
      NC District Office
      6302 Fairview Road, Suite 300
      Charlotte, NC 28210
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                                        United States Bankruptcy Court
                                           Middle District of North Carolina
 In re   SWD Rents, Inc.                                                            Case No.
                                                           Debtor(s)                Chapter    7




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for SWD Rents, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 27, 2024                             /s/ Samantha K. Brumbaugh
Date                                           Samantha K. Brumbaugh 32379
                                               Signature of Attorney or Litigant
                                               Counsel for SWD Rents, Inc.
                                               Ivey, McClellan, Siegmund, Brumbaugh & McDonough, LLP
                                               305 Blandwood Avenue
                                               Greensboro, NC 27401

                                               skb@iveymcclellan.com
